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                        EXHIBIT 03
                                                     Court Today                  ~XHll:SI I LJ;j
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Subject: Court Today
From: Tom Bittner <tbittner@schulte-law.com>
Date: 04/08/2023 01:33
To: Arnaud Paris <aparis@sysmicfilms.com>

Dear Arnaud:

This morning we appeared in court remotely. I had previously been appearing remotely. You had not been doing
that, although both you and Heidi have made remote appearances previously in this case. The court first
addressed the motions {in both cases) for you to be allowed to appear remotely. After hearing from you and from
counsel, the court decided that it would not allow you to appear remotely and you were directed to leave the
proceedings. After you left, the court asked what was the next matter of business. I told the court that it should
address the motion for a mistrial. I argued to the court that it was improper for the judge to hear that motion
because the misconduct that was the topic of the motion was caused by the judge himself. I told the court that
while the trial judge is normally vested with the authority to decide a motion for new trial, those situations
contemplate that the misconduct was caused by a litigant or attorney or juror-not by the judge. The court
disagreed with me and ruled on the motion and denied the request for a new trial. At that point, the court told
me that since your remote appearance was not allowed, that I could not participate in the hearing either. The
court told me that I could watch, but I could not interject, ask questions, make objections etc. I told the court that
I believed it was error to not allow an attorney to defend his client even if the client was not present. The court
disagreed. So I have not been able to further participate In the proceedings other than to watch. I think this is a
highly irregular ruling from the court.

You have a copy of my motion for a mistrial wherein I outline the comments and conduct of the trial judge.

Tom




                        Thomas Bittner I Attorney

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